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                                                                        6 Attorneys for Party-in-Interest
                                                                            CITY OF MORGAN HILL
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                                                                        8                    UNITED STATES BANKRUPTCY COURT
                                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                                        9
                                                                                                     SAN FRANCISCO DIVISION
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BARTON, KLUGMAN & OETTING LLP




                                                                       11 In re:                                       Bankruptcy Case No. 19-30088 (DM)
                                                                                                                       Chapter 11
                                LOS ANGELES, CALIFORNIA 90071-3485
                                350 SOUTH GRAND AVENUE, SUITE 2200




                                                                       12 PG&E CORPORATION,                            (Lead Case)
                                      TELEPHONE (213) 621-4000




                                                                                                                       (Jointly Administered)
                                                                       13          - and -
                                                                                                                       NOTICE OF NON-OPPOSITION TO
                                                                       14 PACIFIC GAS AND ELECTRIC                     MOTION OF DEBTORS
                                                                            COMPANY,                                   PURSUANT TO 11 U.S.C. §§ 105(a),
                                                                       15                                              361 AND 363 AND FED. R. BAKR.
                                                                                         Debtors.                      P. 2002, 4001, AND 6004 FOR AN
                                                                       16                                              ORDER (1) AUTHORIZING
                                                                            □ Affects PG&E Corporation                 DEBTORS TO (a) SELL,
                                                                       17 □ Affects Pacific Gas and Electric           TRANSFER, LEASE OR
                                                                            Company                                    OTHERWISE ENCUMBER REAL
                                                                       18                                              PROPERTY, (b) ENTER INTO
                                                                            □ Affects both Debtors                     ACQUISITION, LEASE, LICENSE,
                                                                       19                                              AND PERMIT AGREEMENTS
                                                                            * All papers shall be filed in the Lead    RELATING TO THIRD PARTY
                                                                       20 Case, No. 19-30088 (DM).                     PROPERTY, AND (c) PURSUE AND
                                                                                                                       BRING EMINENT DOMAIN
                                                                       21                                              PROCEEDINGS TO JUDGMENT OR
                                                                                                                       ENTER INTO SETTLEMENTS IN
                                                                       22                                              LIEU THEREOF, SUBJECT TO
                                                                                                                       CERTAIN PROCEDURES AND
                                                                       23                                              PARAMETERS, AND (II)
                                                                                                                       GRANTING RELATED RELIEF
                                                                       24
                                                                                                                       Date: April 10, 2019
                                                                       25                                              Time: 1:30 pm
                                                                                                                       Courtroom: 17, 16th Floor
                                                                       26                                               United States Bankruptcy Court
                                                                                                                        San Francisco, CA 94102
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                                                                        1 TO ALL INTERESTED PARTIES:

                                                                        2         PLEASE TAKE NOTICE that the City of Morgan Hill, a party in interest in
                                                                        3 this case, by and through their counsel Barton, Klugman & Oetting LLP, hereby

                                                                        4 submit this statement of non-opposition to the motion of Debtors and Debtors in

                                                                        5 Possession, for an Order Pursuant to 11 U.S.C. §§ 105(a), 361 and 363 and Fed. R.

                                                                        6 Bankr. P. 2002, 4001, and 6004 for an Order (1) Authorizing Debtors to (a) Sell,

                                                                        7 Transfer, Lease or Otherwise Encumber Real Property, (b) Enter Into Acquisition,

                                                                        8 Lease, License, and Permit Agreements Relating to Third Party Property, and (c)

                                                                        9 Pursue and Bring Eminent Domain Proceedings to Judgment or Enter Into
                                                                       10 Settlements in Lieu Thereof, Subject to Certain Procedures and Parameters, and
BARTON, KLUGMAN & OETTING LLP




                                                                       11 (II) Granting Related Relief.
                                LOS ANGELES, CALIFORNIA 90071-3485
                                350 SOUTH GRAND AVENUE, SUITE 2200




                                                                       12
                                      TELEPHONE (213) 621-4000




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                                                                            Dated: April 5, 2019           BARTON, KLUGMAN & OETTING LLP
                                                                       14

                                                                       15                                  By: ___________/s/_____________________
                                                                                                                  Terry L. Higham
                                                                       16                                         A Professional Law Corporation
                                                                       17                                         Attorney for Party-in-Interest
                                                                                                                  CITY OF MORGAN HILL
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